                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

               Plaintiff,

vs.                                                             No. 1:15-CR-00621-MV

                                                                Request for Evidentiary Hearing
HOUSTON WALL,

               Defendant.


               DEFENDANT’S REQUEST FOR EVIDENTIARY HEARING

       COMES NOW Defendant, by and through counsel Peter Schoenburg and Alicia Lopez, and

hereby gives notice of his request for an Evidentiary Hearing in connection with the sentencing of

Mr. Wall scheduled for September 19, 2017 at 9:30am.

       In support, counsel further states;

       1. The court ordered a written request for Evidentiary Hearing in its Notice of Sentencing

Hearing (Doc. 80).

       2. As set out in Defendant’s Objections (Doc. 78) and Sentencing Memorandum (Doc. 83),

Defendant will provide expert accounting testimony in support of his various objections through

Anne M. Layne CFE, CPA/CFF at McHard Accounting Consulting LLC, Albuquerque, NM. Ms.

Layne’s testimony will explain and authenticate the spreadsheets attached as exhibits to Defendants

Objections and filed as Docs. 78-1, 78-2, 78-3, 78-4, 78-5, and 78-6. Her direct testimony is

expected to take one hour.

       3. The hearing itself is expected to take a total of three hours.



                                       Respectfully submitted,

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ROTHSTEIN DONATELLI LLP


/s/ Peter Schoenburg____________
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